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  IT IS ORDERED as set forth below:



   Date: January 15, 2020
                                                    _________________________________

                                                              Jeffery W. Cavender
                                                         U.S. Bankruptcy Court Judge

 ________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                         CASE NO. 19-60303-JWC

  AVEUM INVESTMENTS, LLC,                        CHAPTER 7

                         Debtor.

  CATHY L. SCARVER, Chapter 7 Trustee,

           Movant,

  v.                                             CONTESTED MATTER

  U.S. BANCORP D/B/A U.S. BANK, N.A. as
  Trustee for VELOCITY COMMERCIAL
  CAPITAL LOAN TRUST 2018-1,

           Respondent.

                                           ORDER

       THIS MATTER is before the Court on the Motion for Turnover and/or, in the Alternative,

Motion for Sanctions for Violating Automatic Stay (Doc. 56) (the “Motion”) filed by Cathy L.

Scarver, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Aveum Investments, LLC.
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The Court held a hearing on the Motion on January 15, 2020, at which Trustee, counsel for Trustee,

and counsel for Respondent appeared. For the reasons stated on the record at the hearing,

       IT IS ORDERED that the Motion be and is hereby DENIED without prejudice; provided,

however, that the Motion is hereby converted to a complaint to the extent it seeks turnover of

property pursuant to 11 U.S.C. § 542 and/or 543, and this contested matter is hereby converted to

an adversary proceeding governed by Part VII of the Federal Rules of Bankruptcy Procedure. The

Clerk’s Office is directed to open an adversary proceeding and docket the Motion as a complaint.

The Clerk’s Office is authorized to issue an appropriate summons on Respondent pursuant to the

Federal Rules of Bankruptcy Procedure.

       The Clerk’s Office is directed to serve a copy of this Order upon Trustee, Trustee’s

Counsel, Respondent’s Counsel, and all parties on the mailing matrix.

                                    END OF DOCUMENT
